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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION




DUNCAN MOORE,

             Plaintiff,

v.                                                 CASE NO. 4:09cv273-RH/WCS

TALLAHASSEE MEMORIAL HEALTHCARE,
INC.,

          Defendant.
_______________________________________/


                     ORDER FOR ENTRY OF JUDGMENT


      The issue in this case is the amount due under a supplemental employee

retirement plan or “SERP” governed by the Employee Retirement Income Security

Act. The case was tried without a jury. This order directs the clerk to enter a

judgment based on the findings of fact and conclusions of law announced at some

length on the record at the end of the trial. The order summarizes the ruling.

                                          I

      The plaintiff was the defendant nonprofit hospital corporation’s chief

executive officer from 1988 to 2003. In 1998, the defendant hired a consultant to

address the possible adoption of a SERP for the plaintiff and several other top
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executives. On September 9, 1998, the defendant’s Board of Directors voted to

adopt a SERP calling for the plaintiff to receive payments totaling 50% of a base if

he retired after 10 years of total service, increasing to a maximum of 65% after 15

years of service. As it turned out, the plaintiff served 15 years before retiring, so

for convenience this order usually refers only to 65%.

         The Board believed the plaintiff was performing well. It sought to keep him

and intended the SERP to be a generous benefit. The SERP brought the plaintiff’s

overall compensation and retirement package into line with those of similarly-

situated chief executives.

         The base—the number to which the 65% applied—was the average of the

plaintiff’s best five years of salary, not including benefits. The omission of

benefits was significant. The plaintiff had the right to defer part of his salary, and

the defendant had long agreed to match any amount the plaintiff deferred, up to a

maximum that increased from time to time. In 1998, the maximum was $100,000.

Under the SERP approved by the Board, the $100,000 match did not increase the

plaintiff’s prospective retirement payments.

         In addition, the SERP approved by the Board called for the targeted

amount—65% of salary as properly calculated—to come not from the SERP

standing alone, but instead from three sources combined: social security; the

defendant’s existing retirement plan; and the SERP. Again, this was significant; a

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65% SERP payment without a reduction or “offset” for social-security and

underlying-retirement-plan benefits would have been substantially greater.

         When the Board acted on September 9, 1998, the SERP had been outlined in

concept, but the details had not been fleshed out or committed to a formal

document. On September 24, the plaintiff himself presented a draft employment

contract that incorporated the SERP. The draft was a mark-up from the plaintiff’s

1988 employment contract. The plaintiff sent the draft with a cover memo to the

defendant’s Board officers, who were serving in effect as a compensation

committee responsible for implementing the September 9 action. The cover memo

specifically cited the SERP provision, saying it set out a “a clear definition of my

compensation.” Admin. R. 130. The SERP provision was italicized in the draft to

indicate it was new.

         The plaintiff’s draft SERP provision differed in two important respects from

the SERP approved by the Board on September 9. First, the draft called for the

payment of 65% of salary and benefits—not salary alone—as listed on a specific

IRS form, Form 990. A nonprofit corporation uses Form 990 to disclose officer

compensation and related payments. Second, the draft made no reference to an

offset for social-security and underlying-retirement-plan benefits. Aside from

citing the SERP provision and italicizing the new language, the plaintiff did not

call these changes to the Board officers’ attention. To the contrary, the plaintiff

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deflected attention from the changes by discussing other issues in the cover memo.

Admin. R. 130.

         The Board officers met on October 14 and 21, 1998. They approved a

contract based on the plaintiff’s draft but with changes on matters not now at issue:

the definition of termination for cause and the period covered by a severance

provision that would apply under specific circumstances. The officers apparently

did not discuss or even notice the changes the plaintiff had made to the SERP. The

chairman of the Board signed an employment contract with the plaintiff on October

22, 1998. The contract included the SERP provision exactly as the plaintiff had

drafted it. The chairman still did not notice the changes from the plan approved on

September 9.

         In 2000 the defendant’s attorney redrafted the employment contract. He

greatly expanded the SERP provision, adding detail but intending no substantive

change. He based the 2000 provision on the SERP provision in the 1998 contract

as signed. The attorney had a copy of the September 9, 1998, Board minutes, but

he did not notice the difference between the SERP as approved in those minutes

and the SERP as set out in the 1998 contract. The plaintiff signed the 2000

contract in exactly the form presented to him by the attorney. The chairman of the

Board signed the contract for the defendant. The plaintiff mentioned nothing—to

the attorney or to the chairman—about the missing offset or about the inclusion of

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benefits as well as salary in the base to which the 65% applied. The plaintiff had

no reason to mention those matters at that point; he understood the 2000 contract to

be no different in those respects than the 1998 contract.

         In 2003 the plaintiff and the defendant agreed that the plaintiff should retire.

It was neither a forced retirement nor the result of either party’s dissatisfaction

with the other. The defendant assigned two Board members to look into financial

arrangements for the departure. They recommended a package to the Board that

followed in some respects the terms of the 2000 employment contract that would

have applied had the plaintiff quit or been fired. But the package also differed very

substantially from those terms of the 2000 employment contract. It was, in short, a

new package, not just an application of the existing contract.

         The package was set out in a written agreement. The Board unanimously

approved it. The plaintiff accepted it without question and without change. The

plaintiff and the chairman of the defendant’s Board signed the agreement,

intending to be bound by its terms.

         The 2003 agreement called for the plaintiff to receive SERP payments of

65% of salary and benefits as reported on Form 990, without an offset for social-

security and underlying-retirement-plan benefits. This is what the Board intended.

No Board member believed or reasonably could have believed otherwise. On these

matters the agreement was crystal clear.

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                                            II

         The defendant says the plaintiff breached his fiduciary duty by failing to call

to the defendant’s attention the deletion of the offset and the addition of benefits to

the base on which the 65% was calculated. The defendant says alternatively that

omitting the offset and adding benefits to the base were mutual or at least unilateral

mistakes. The defendant says the various contracts should be reformed.

         Whether the 1998 or 2000 agreement resulted from a breach of fiduciary

duty—whether the plaintiff met his duty by citing the SERP provision and

italicizing the new language in his draft contract or had a duty to go further and

explicitly call the change to the defendant’s attention—is an issue that need not be

resolved. Regardless of the validity of the 1998 or 2000 contract, the 2003

agreement was a new contract with clear terms plainly accepted by each side. In

entering the 2003 agreement—indeed, in formulating and proposing it—the

defendant relied on nothing the plaintiff did or said. The defendant decided for

itself that it wished to enter an agreement with precisely these terms. The

defendant knew what it was agreeing to. The agreement is valid and binding.

                                            III

         The 2003 agreement is ambiguous in two respects. The SERP benefit is

plainly 65% of the average of the highest five years of salary and benefits. But the

agreement does not specify whether a year is a calendar year, the defendant’s fiscal

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year, a year starting from the anniversary of the date in 1988 when the plaintiff was

hired, or a year ending on the date in 2003 when the plaintiff retired or on the same

date in a prior year. Because the agreement specifically refers to salary and

benefits reported on a specific IRS form—Form 990—I conclude the relevant

period is the same year covered by the form, that is, the defendant’s fiscal year.

         The agreement also does not explicitly indicate whether salary and benefits

include the accumulated leave that was payable upon the plaintiff’s departure or,

more importantly, severance pay or SERP payments for periods after the plaintiff’s

departure.

         I conclude that accumulated leave is included. It is conceptually no different

from the plaintiff’s last pay check—earned during the plaintiff’s tenure but paid

after his departure. One could argue both sides of the question whether the

accumulated leave should be treated as paid during the year of the plaintiff’s

departure or apportioned in some manner among earlier years. The difference is

minor. I conclude, based on the agreement’s reference to Form 990, that the leave

should be treated as paid during the plaintiff’s year of departure, exactly as

reported on the 990.

         The result is different for severance and SERP payments. They are not

properly included in the salary and benefits used in the SERP calculation. The

purpose of the SERP was to provide the plaintiff a 65% share of what he was

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making while employed. He was making his salary and benefits, including the

salary match and paid leave. But severance and the SERP were unequivocally

post-departure benefits intended to substitute for, not add to, the plaintiff’s ongoing

compensation while employed. Nobody reasonably could have thought otherwise.

Nobody reasonably could have thought that the SERP calculation—65% of the

plaintiff’s average compensation, including salary and benefits, for his best five

years—would actually be more than 100% of the plaintiff’s best year of

compensation during his entire tenure with the defendant. Calculating the SERP

by including severance and SERP payments makes no sense.

                                           IV

         Based on these rulings, the plaintiff is entitled to an annual SERP payment

of $365,119.03. See Def. Ex. 19. Between the date of the plaintiff’s departure and

today, the defendant has made periodic SERP payments. The payments were

originally more than was owed. More recently the payments have been less than

owed. In total, the payments have fallen over $500,000 short.

         This order directs the defendant to pay the past due amounts and to make

payments going forward in accordance with this order. In addition, I find that a

reasonable interest rate for the covered period is two percent without

compounding. Interest runs both ways—in favor of the defendant, for the early

overpayments, and in favor of the plaintiff, for the underpayments.

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                                             V

         For these reasons and those set out at greater length on the record at the end

of the trial,

         IT IS ORDERED:

         1. The clerk must enter a judgment stating:

                         It is declared that the amount due to the plaintiff from the
                  defendant under their 2003 contract’s supplemental employee
                  retirement plan is $365,119.03 per year payable in monthly
                  installments. The defendant must pay the plaintiff the past-due
                  amounts, with net interest at 2% per annum, and must make the
                  appropriate payments going forward. All other claims are dismissed
                  with prejudice.

         2. The clerk must close the file.

         SO ORDERED on July 2, 2010.

                                                 s/Robert L. Hinkle
                                                 United States District Judge




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